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        Attorney for Plaintiff State of Arizona
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    7
                            IN THE UNITED STATES DISTRICT COURT
    8
                            IN THE EASTERN DISTRICT OF TENNESEE
    9
   10    State of Tennessee, et al.,
   11                                                         No: 3:21-cv-00308-CEA-DCP
                                           Plaintiff,
   12    v.                                              PLAINTIFF STATE OF ARIZONA’S
   13                                                     UNOPPOSED MOTION TO DROP
         United States Department of Education, et       STATE OF ARIZONA AS A PARTY
   14    al.,
   15
                                        Defendants.
   16
   17
               Pursuant to Fed. R. Civ. P. 21 (“Rule 21”), the State of Arizona hereby moves this
   18
        Court to drop it as a party from this action. The State of Arizona no longer wishes to
   19
        continue litigating the above-captioned matter or any appeal arising from it. This Court
   20
        has previously expressed that Rule 21 is the appropriate vehicle for such a motion, and that
   21
        Rule 21 is “governed under a liberal standard.” Cosby v. KPMG, LLP, No. 3:16-CV-121-
   22
        TAV-DCP, 2020 WL 3529659, at *3 (E.D. Tenn. June 29, 2020) (citing Thorn v. Bob
   23
        Evans Farms, LLC, No. 2:12-CV-768, 2013 WL 2456336, at *2 (S.D. Ohio June 6, 2013).
   24
        Defendants and Co-Plaintiffs do not oppose this motion, and so it is made on just terms.
   25
   26          RESPECTFULLY SUBMITTED this 10th day of March, 2023.

   27
   28                                             BERGIN, FRAKES, SMALLEY &
                                                  OBERHOLTZER, PLLC



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    1
                                                 By: /s/ Anthony R. Napolitano
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                                                 Attorney for Plaintiff State of Arizona
    6
    7
    8                              CERTIFICATE OF SERVICE
    9
              On this 10th day of March, 2023, the foregoing was filed with the Eastern District
   10   of Tennessee’s Court Clerk’s Office using the CM/ECF System for filing, which will
        provide a Notice of Electronic Filing to all CM/ECF registrants.
   11
   12   By: /s/ Shelly Curry
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